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4

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6
                                      United States District Court
 7                                   Eastern District of Washington
                                      Honorable Salvador Mendoza, Jr.
8
      United States,                                     No. 1:19-CR-2032-SMJ-1
9
                               Plaintiff,                Rule 29 Motion for Partial
10
                                                         Judgment of Acquittal; Rule 33
            v.
11                                                       Motion for New Trial
      James Dean Cloud,
12                                                       July 18, 2022 – 6:30 p.m.
                               Defendant.
13
                                                         Yakima—Without Argument
14

15

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                                                           Rule 29 + Rule 33
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 1                                          I.      Introduction 1

2            The Government’s case against James Cloud unfolded in one courtroom, but it

 3    felt like two trials—one a picture of clarity, the other a picture of chaos.

4            At Jon’s house, the Government laid out a clear narrative about James’s role in

 5    the June 8 carjacking, kidnapping, and assault. Natasha placed James and Donovan in

6     Jon’s backyard minutes before the crimes occurred; Jon identified James as the man

 7    who pointed a shotgun at him; Nancy corroborated Jon; police recovered Donovan’s

8     prints from Jon’s truck; and police located Jon’s truck near where the Clouds were

9     seen. The evidence against James was detailed, credible, and convincing.

10           At Dobie’s house, the Government laid out a contradicting, inferential mess. Its

11    #1 eyewitness (Morris) didn’t see any murders; Natasha didn’t see the house

12    murders, 2 but exculpated James for the truck murders 3; and Lindell not only

13    exculpated James for the truck murders, but also agreed with Natasha that Morris was

14

15

16    1 Throughout trial, the parties referred to several witnesses on a first-name basis. For this motion,
      James does the same; he also refers to select others on a first-name basis (e.g., Morris) for ease and
17    consistency.
      2 The house murders embrace the following counts: 1) first-degree murder of Catherine

18    (Count 10); 2) use of a gun during Catherine’s murder (Count 11); 3) first-degree murder of
      Michelle (Count 12); and use of a gun during Michelle’s murder (Count 13).
19    3 The truck murders embrace the following counts: 1) first-degree murder of Dennis. (Count 7);

      2) use of a gun during Dennis’s murder (Count 8); 3) first-degree murder of Thomas (Count 14);
      and use of a gun during Thomas’s murder (Count 15).
                                                 Rule 29 + Rule 33
                                                       –3–
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 1    the blue-shirted, shotgun-toting man who nearly killed him—wholly undercutting what

2     the Government promised the jury (and the Court) the evidence would show.

 3           One moment captured this mess perfectly: when the Government took time

4     during rebuttal to discredit its own eyewitnesses. Remarkable. This mess means the

 5    verdict’s murder convictions don’t survive post-trial scrutiny. Here’s why:

6            First, under Rule 29, the Government failed to prove premeditation for the

 7    house murders with near certitude. 4 Without a single eyewitness to say who-shot-who,

8     the Government built its case against James on an inferential chain tied to shooting

9     order—that is, Dobie got killed first during an unplanned argument, which meant

10    Michelle and Catherine got killed next during a premeditated cover-up.

11           This chain assumes Dobie got killed first—something the Government doesn’t

12    know. It’s guessing. Even “strong suspicion[s]” are “no substitute of guilt beyond a

13    reasonable doubt” under Rule 29, and the Government offers nothing more than

14    suspicions. U.S. v. Jones, 713 F.3d 336, 347 (7th Cir. 2013); see also U.S. v. Katakis, 800

15
      4 During the jury instruction conference, the Government took issue with “this language about
16    ‘near certitude,’” noting it “sounds different” than proof beyond a reasonable doubt. (ECF No.
      666 at 9) (Transcript–Feb 22 pretrial hearing). The implication is this phrase (near certitude)
17    incorrectly captured the Government’s burden. Not so. The Ninth Circuit didn’t divine this
      phrase from thin air; it pulled the phrase from the Supreme Court. See U.S. v. Velasquez, 1 F.4th
18
      1132, 1137 (9th Cir. 2021) (citing Jackson v. Virginia, 443 U.S. 307, 315 (1979) (“At the same time
      by impressing upon the factfinder the need to reach a subjective state of near certitude of the guilt
19
      of the accused, the standard symbolizes the significance that our society attaches to the criminal
      sanction and thus to liberty itself.”) (emphasis added)).

                                                Rule 29 + Rule 33
                                                      –4–
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 1    F.3d 1017, 1025 (9th Cir. 2015) (affirming judgment of acquittal since the

2     Government’s evidence lacked a “critical link in the logical chain of inference”).

 3           Under Rule 33’s more-relaxed standard, the Court gets to consider trial errors,

4     including the exclusion of James’s evidence rebutting premeditation—namely, records

 5    showing he got shot shortly before Medicine Valley, making it reasonable for him to

6     show up armed for protection, not aggression.

 7           Second, under Rule 29, the Government failed to prove James committed the

8     house murders with near certitude. Once again, the Government built its case on an

9     inferential chain: Michelle and Catherine got killed with a rifle, and since a rifle was

10    consistently seen in James’s hands, he’s the shooter. This chain holds only if there was

11    one rifle at Medicine Valley, which wasn’t the case; there were multiple rifles—so says

12    the Government’s own witnesses.

13           Beyond the one-rifle problem, James wasn’t the only one consistently seen with

14    a rifle that day; Donovan was too, including when it mattered most—right after the

15    shootings, as he ran towards Morris and Natasha all worked up and breathing hard. At

16    best, the Government’s evidence creates equipoise, which falls short under Rule 29’s

17    deeper audit for circumstantially-built cases. See U.S. v. Coplan, 703 F.3d 46, 69 (2d

18    Cir. 2012) (Noting “if the evidence viewed in the light most favorable to the

19    prosecution gives equal or nearly equal circumstantial support to a theory of guilt and a


                                            Rule 29 + Rule 33
                                                  –5–
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 1    theory of innocence, then a reasonable jury must necessarily entertain a reasonable

2     doubt” under Rule 29).

 3          Under Rule 33, the Court gets to consider the credibility of the Government’s #1

4     witness: Morris, the man who left the stand with his credibility in shambles. When the

 5    credibility of a Government witness gets that bad, courts grant new trials. See, e.g., U.S.

6     v. Capati, 980 F. Supp. 1114, 1134 (S.D. Cal. 1997) (granting new trial because the

 7    Government’s theory, which was “based so heavily on the incredible testimony of one

8     witness, can in the end be no better than the discredited witness who gave it birth.”).

9           Third, under Rule 29, the Government failed to prove James aided in the house

10    murders with near-certitude. At best, the Government’s evidence placed James near

11    the shootings, but mere presence isn’t enough to convict. See, e.g., U.S. v. Goldtooth,

12    754 F.3d 763, 768-69 (9th Cir. 2014) (noting “mere presence at the scene does not an

13    aider and abettor make”). Nor is evidence that James dragged Dobie’s body, as that’s

14    more akin to accessory-after-the-fact (§3), which the Government didn’t charge.

15          Under Rule 33’s more-relaxed standard, little changes.

16          Fourth, under Rule 29, the Government failed to prove James committed the

17    truck murders with near certitude. Here, the Government’s own witnesses tell

18    contradicting stories: the cooperating ones (Morris and David Hoffman) say James was

19    involved in the shootings, while the disinterested ones (Natasha and Lindell) say he


                                           Rule 29 + Rule 33
                                                 –6–
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 1    wasn’t. That’s equipoise, which doesn’t survive Rule 29’s deeper audit for

2     circumstantially-built cases. See Coplan, 703 F.3d at 69 (same as above).

 3           Under Rule 33’s more-relaxed standard, the Court gets to consider who came

4     off as more credible on the stand—Morris, or Natasha and Lindell. It also considers

 5    trial errors, including when the Government was allowed to tell the jury (incorrectly)

6     that Morris saw James shoot Tommy—twice.

 7           Fifth, under Rule 29, the Government failed to prove James aided in the truck

8     murders with near certitude. Once again, the Government’s witnesses contradict each

9     other: the cooperating one said James talked about taking out the truck (showing he had

10    murder on his mind), while the disinterested one said those words came from

11    Donovan. That’s equipoise, which isn’t enough under Rule 29’s deeper audit in

12    circumstantially-built cases. It also shows no aiding liability, as James didn’t share a

13    “state of mind extending to the entire crime,” which is what the Supreme Court looks

14    for. Rosemond v. U.S., 572 U.S. 65, 75-76 (2014) (“That is because, as we will describe,

15    an aiding and abetting conviction requires not just an act facilitating one or another

16    element, but also a state of mind extending to the entire crime.”).

17           Under Rule 33’s more-relaxed standard, the Court again weighs in on who came

18    across as more credible on the stand—Morris or Natasha.

19           Here are James’s specific asks for both motions (laid out in the alternative):

         1) enter Rule 29 acquittals for all the murders (without reaching Rule 33);
                                            Rule 29 + Rule 33
                                                  –7–
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 1
          2) alternatively, enter Rule 29 acquittals for the house murders, then grant a new
2            trial under Rule 33 for the truck murders;

 3
          3) alternatively, enter Rule 29 acquittals on premeditation for the house murders,
4            then grant a new trial under Rule 33 for the remaining house murders, as well as
             the truck murders.
 5
      The reasons why are set forth below.
6
                                           II.     Background
 7
             For ease, James organized the background to match how evidence came in at
8
      trial: by witness. This background doesn’t capture every moment from every witness—
9
      that’s unnecessary. Instead, it focuses on Medicine Valley. There will be periodic
10
      references to pre- and post-Medicine Valley events, but only insomuch as they shed
11
      light on the post-trial analysis.
12
             What the Government promised.
13
             It helps to begin with the Government’s promises. 5 During opening, it promised
14
      the jury evidence showing James murdered five people, and he did so with a rifle: 6
15

16

17

18

19    5 Although this deviates from a witness-order format, these promises inform the Court’s analysis
      under both Rule 29 and Rule 33.
      6 ECF No. 693 at 310 (Transcript–Day 3).

                                               Rule 29 + Rule 33
                                                      –8–
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 1

2

 3    That was its promise. But as set forth below, the Government’s evidence showed

4     something else entirely.

 5           Michael Peterson

6            The Government opened with Michael Peterson; he offered little. Three days

 7    before the June 8 shootings, Michael saw James and Donovan parked outside his

8     mother’s house. 7 They had guns, but Michael couldn’t remember who had what. 8

9     When James saw Michael, he walked over and introduced himself, telling Michael they

10    were waiting for help with a flat tire. 9 That’s it.

11           Janet Hoptowit

             Next was Janet Hoptowit. Janet told the jury the following: 1) she owned the
12
      property at 5151 Medicine Valley 10; 2) she let Dobie live there rent-free 11; and 3) the
13
      property “got a bit trashier” while he lived there. 12
14

15

16

17
      7 ECF No. 693 at 344 (Transcript–Day 3).
18    8 ECF No. 693 at 345, 346 (Transcript–Day 3).
      9 ECF No. 693 at 351 (Transcript–Day 3).

19    10 ECF No. 693 at 354 (Transcript–Day 3).

      11 ECF No. 693 at 355-56 (Transcript–Day 3).

      12 ECF No. 693 at 363 (Transcript–Day 3).

                                             Rule 29 + Rule 33
                                                    –9–
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 1           Pat Lewis

2            Pat Lewis felt like a character witness—the good kind. Although Pat is James’s

 3    step-father,13 James refers to him as “Pops.”14 Pat told the jury James is an enrolled

4     Yakima tribal member 15; he also said James lacked a stable family growing up, so he

 5    spent more time than usual with his grandmother. 16

6            Michelle Sconawah

             Michelle Sconawah helped check the jurisdictional box, telling the jury James
 7
      possesses sufficient blood quantum to be a Yakama tribal member. 17
8
             Julia Saluskin
9
             Julia Saluskin also helped check the jurisdictional box, telling the jury James
10
      received tribal per capita checks, a benefit reserved for enrolled members. 18
11
             Wyeth Wallace
12
             Wyeth Wallace finished checking the jurisdictional box, confirming Medicine
13
      Valley falls within the Yakama Nation’s boundaries.19
14

15

16

17    13 ECF No. 693 at 368 (Transcript–Day 3).
      14 ECF No. 693 at 370 (Transcript–Day 3).

18    15 ECF No. 693 at 369 (Transcript–Day 3).

      16 ECF No. 693 at 371 (Transcript–Day 3).

19    17 ECF No. 693 at 379 (Transcript–Day 3).

      18 ECF No. 693 at 384-85 (Transcript–Day 3).

      19 ECF No. 693 at 394 (Transcript–Day 3).

                                             Rule 29 + Rule 33
                                                   – 10 –
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 1           William Boyer

2            Sergeant William Boyer served as a foundational witness, so it makes sense he

 3    spent some time on the stand. The Government used him to introduce crime scenes,20

4     photos, 21 and physical items. 22

 5           But besides admitting exhibits and providing background, Sergeant Boyer offers

6     little to this motion. He wasn’t present during the shootings, he never saw the Clouds

 7    that day, and he didn’t participate in any pivotal interviews.

8            Sergeant Boyer’s testimony isn’t wholly irrelevant, as he offered one fact that

9     informs James’s Rule 33 motion: he described Dobie’s as a “tactical nightmare”—a

10    location so packed with junk that there were many “places for a shooter to hide.”23

11           Troy Ribail

             FBI agent Troy Ribail also served as a foundational witness. The Government
12
      used him to introduce photos (e.g., a shirtless Donovan with “Savage Till Death”
13
      tattooed across his chest),24 as well as physical items (e.g., the .22-caliber rifle Morris
14
      ditched in the canal). 25
15

16
      20 ECF No. 693 at 414 (Transcript–Day 3) (introducing Medicine Valley).
17    21 ECF No. 693 at 425 (Transcript–Day 3) (introducing truck photos).
      22 ECF No. 693 at 470-71 (Transcript–Day 3) (introducing Natasha’s green bag).

18    23 ECF No. 693 at 433 (Transcript–Day 3). Since this is the background, James Cloud won’t

      unpack how Sergeant Boyer’s “tactical nightmare” comment informs the Rule 33 analysis; he’ll
19    save that analysis for the discussion section below.
      24 ECF No. 700 at 708 (Transcript–Day 4).

      25 ECF No. 700 at 717 (Transcript–Day 4).

                                                 Rule 29 + Rule 33
                                                       – 11 –
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 1           But the most relevant information from Agent Ribail (at least for post-trial

2     motion purposes) came when James called him on direct. There, Agent Ribail told the

 3    jury he did the following:

4            -   He labeled Morris a liar. During various interviews, Agent Ribail repeatedly
                 accused Morris of dishonesty and withholding information. 26
 5
             -   He confronted Morris with inconsistent evidence. Agent Ribail confronted
6
                 Morris with evidence that other witnesses ID’d him as a shooter.27
 7
             -   He collected evidence that inculpated Morris. Agent Ribail documented that,
8                according to Lindell, Morris was the blue-shirted shooter who shot him and
                 had the shotgun. 28
9
             -   He collected evidence that exculpated James. Agent Ribail documented that
10               Lindell excluded James as the person who shot Dennis and Thomas. 29

11
      Those are the things Agent Ribail did. He also told the jury he was surprised by several
12
      things Morris said on the stand. Among them:
13
             -   An unmentioned confession. Morris mentioned James purportedly confessed
14               to shooting Dobie Jack—news to Agent Ribail.30

15           -   Unmentioned time under a tarp. Morris mentioned he spent several minutes
                 during the post-shooting chaos sitting under a tarp by some wood stoves—
16               news to Agent Ribail.31

17
      26 ECF No. 739 at 1411 (Transcript–Day 7).
18    27 ECF No. 739 at 1411 (Transcript–Day 7).
      28 ECF No. 739 at 1417 (Transcript–Day 7).

19    29 ECF No. 739 at 1421-22 (Transcript–Day 7).

      30 ECF No. 739 at 1422-23 (Transcript–Day 7).

      31 ECF No. 739 at 1425 (Transcript–Day 7).

                                             Rule 29 + Rule 33
                                                   – 12 –
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 1           -    An unmentioned confrontation. Morris mentioned Thomas confronted one
                  of the Clouds about knowing Dobie was around32—news to Agent Ribail.
2
             -    An unmentioned friend. Morris mentioned Natasha was upset because she
 3
                  thought one of the shooting victims was “Chucky” from White Swan—news
4                 to Agent Ribail.33

 5    It’s revealing when the lead agent gets surprised by testimony from his #1 witness.

6            Morris Jackson

 7           Morris served as the Government’s #1 witness, so there’s much to unpack from

8     his testimony. The best way to view his statements is a table—the left column covering

9     what Morris said on direct, the right column covering what changed on cross:

10                  Testimony on Direct                                  Admission on Cross

11     Drug use in morning. Morris woke up on June 8       This was new. Morris admitted he never went to
       and used meth. 34                                   bed the night before and also used cocaine and
                                                           alcohol. He agreed he told the jury something
12
                                                           different the day before. 35

13     Alcohol use at Medicine Valley. Morris took a       Admits to lying. Morris admitted to lying to
       couple of drinks of Jim Beam with Michelle. 36      police about his alcohol use on June 8. 37
14
       Weapons in car. James and Donovan each had
15     rifles—Morris couldn’t remember what they
       looked like, but “knew they were rifles.” 38
16

17    32 ECF No. 739 at 1425 (Transcript–Day 7).
      33 ECF No. 739 at 1426 (Transcript–Day 7).

18    34 ECF No. 700 at 761 (Transcript–Day 4).

      35 ECF No. 717 at 865-66 (Transcript–Day 5).

19    36 ECF No. 700 at 770 (Transcript–Day 4).

      37 ECF No. 717 at 867 (Transcript–Day 5).

      38 ECF No. 700 at 762-63 (Transcript–Day 4).

                                             Rule 29 + Rule 33
                                                   – 13 –
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 1                   Testimony on Direct                                     Admission on Cross

2      Relationship with Dobie Jack. Morris referred to        Admits to lying. Morris admitted he “may have
       Dobie as his friend. 39                                 been lying” when he told police Dobie wasn’t his
 3                                                             friend. 40

       Relationship with the Clouds. Morris knew               Admits to lying. Morris admitted he told police
4      James longer than Donovan. 41                           the opposite—that is, he knew Donovan better
                                                               than James. 42
 5
       Reason for Going to Medicine Valley. Morris
6      went to buy “some dope from Dobie.” 43

 7     Who wore what. Couldn’t remember what James
       wore; Donovan wore “darker colors,” not a
       white tank top. 44
8
       Weapons in house. James and Donovan each had            Memory gets fuzzy. Morris didn’t remember
9      rifles (or long guns) inside Dobie’s game room. 45      telling the FBI the opposite during a recorded
                                                               interview—that is, Donovan had a rifle inside
10                                                             Dobie’s game room, but James did not. 46
                                                               Morris also couldn’t remember telling the FBI—
11                                                             in a recorded interview—that he didn’t know
                                                               who had the .22 rifle. 47
12
       Drug use at Medicine Valley. Morris sat in the
13     Blazer with Natasha and smoked meth. 48

       Morris enters the game room. After waiting in the       Getting things confused. Morris didn’t
14
       Blazer, Morris went to the game room and                remember telling the FBI the opposite during a

15
      39 ECF No. 700 at 763 (Transcript–Day 4).
16    40 ECF No. 717 at 872-73 (Transcript–Day 4).
      41 ECF No. 700 at 759 (Transcript–Day 4).

17    42 ECF No. 717 at 871 (Transcript–Day 5).

      43 ECF No. 700 at 766 (Transcript–Day 4).

18    44 ECF No. 700 at 772 (Transcript–Day 4).

      45 ECF No. 700 at 772 (Transcript–Day 4).

19    46 ECF No. 717 at 875 (Transcript–Day 5).

      47 ECF No. 717 at 875 (Transcript–Day 5).

      48 ECF No. 700 at 774 (Transcript–Day 4).

                                             Rule 29 + Rule 33
                                                   – 14 –
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 1                  Testimony on Direct                                   Admission on Cross
       believed “they” (James, Donovan, and Dobie)          recorded interview—that is, Donovan was the
2
       were talking about gas, but didn’t clarify who was   one joking about Morris coming to check on
       doing the talking—or arguing. 49 James and Dobie     them at Natasha’s behest. When confronted
 3     then joked about Morris coming to check on           about this inconsistency, Morris admitted he gets
       them at Natasha’s behest. 50                         James and Donovan confused when it comes to
4                                                           who did what. 51

 5     Morris returns to the Blazer. Morris left the
       game room, returned to the Blazer, and waited
6      with Natasha for an unknown time period. 52

       Morris hears something. While waiting in the car
 7
       and listening to music loudly, Morris thought he
       heard a gunshot coming from the west—away
8      from Dobie’s residence. 53

9      What Morris sees next. Donovan ran from the
       property, jumped the fence, entered the Blazer,
10     and rammed it through the gate. He was
       “worked up” and “breathing really hard,”
11     claiming “Dobie was gone.” 54

       The looting begins. Donovan directed Morris and
12     Natasha to loot the place. He didn’t see James. 55

13     James seen with one of two rifles. Morris
       eventually saw James, who carried a .22 rifle—
14     one of two from the Blazer. 56

15     Entering Dobie Jack’s bedroom. James                 This was new. Morris couldn’t recall if he told
       purportedly told Morris to “get something”           his attorney, the FBI, or the prosecutors about

16
      49 ECF No. 700 at 776 (Transcript–Day 4).
17    50 ECF No. 700 at 776-77 (Transcript–Day 4).
      51 ECF No. 717 at 876 at 876 (Transcript–Day 5).

18    52 ECF No. 700 at 778 (Transcript–Day 4).

      53 ECF No. 700 at 778 (Transcript–Day 4).

19    54 ECF No. 700 at 779 (Transcript–Day 4).

      55 ECF No. 700 at 780 (Transcript–Day 4).

      56 ECF No. 700 at 780-81 (Transcript–Day 4).

                                              Rule 29 + Rule 33
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 1                   Testimony on Direct                                   Admission on Cross
       from Dobie’s bedroom. He entered the bedroom,         using a cell phone as a flashlight during seven
2
       used a cellphone as a flashlight, and then ran into   different interviews and two dress rehearsals. 58
       Donovan, who now had a pistol as well. 57
 3
       Searching Dobie. While looking for gas, James         This was new. Morris was confronted with a
4      and Morris returned to the game room. Once            prior recorded statement where he told police he
       there, James directed Morris to search Dobie’s        didn’t even know if Dobie was alive—he
 5     pockets—his pockets were already pulled out. 59       couldn’t remember making that statement. 60
                                                             Morris insisted Dobie was wearing bib overalls,
6                                                            though photos show otherwise. 61 Morris thought
                                                             someone took the time to remove these bib
                                                             overalls. 62
 7
       Alone time under the tarp. After exiting the game     This was new. Morris admitted he never told his
8      room, Morris sat under a tarp by some kitchen         attorney, the FBI, or the prosecutors about his
       stoves for 5-10 minutes. 63                           alone time with the stoves during seven different
9                                                            interviews and two dress rehearsals. 64

10     The truck arrives. While Morris searched the
       property for gas, a truck pulled up. He turned
11     them away. 65

       Morris sees multiple rifles. After the truck left,    Confirms there were multiple guns. Morris
12     he saw Donovan carrying multiple rifles. James        confirmed seeing “a whole bunch of guns” being
       purportedly told Morris to shoot who came down        carried out of Dobie’s house (5 or 6 or more). 67
13     the driveway. 66

14

15    57 ECF No. 700 at 782-83 (Transcript–Day 4).
      58 ECF No. 717 at 861-62 (Transcript–Day 4).
16    59 ECF No. 700 at 785-86 (Transcript–Day 4).

      60 ECF No. 717 at 852 (Transcript–Day 5).

17    61 ECF No. 717 at 853-54 (Transcript–Day 5).

      62 ECF No. 717 at 857 (Transcript–Day 5).

18    63 ECF No. 700 at 786 (Transcript–Day 4).

      64 ECF No. 717 at 854-55 (Transcript–Day 5).

19    65 ECF No. 700 at 789 (Transcript–Day 4).

      66 ECF No. 700 at 790 (Transcript–Day 4).

      67 ECF No. 717 at 877 (Transcript–Day 5).

                                             Rule 29 + Rule 33
                                                   – 16 –
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 1                  Testimony on Direct                                  Admission on Cross

2      The truck returns. Roughly 20 minutes later, the
       returns. 68 During that time, Morris saw James
 3     with a rifle and Donovan with a pistol—Morris
       was going to say more about what Donovan
       possessed, but he wasn’t able to finish answering
4
       the question. 69

 5     Exchange with Thomas. Thomas exited the             This was new. Morris admitted he never told his
       truck, walked around the property, and then said    attorney, the FBI, or the prosecutors about his
6      he knew Dobie was there, as he just spoke to him    exchange with Thomas during seven different
       on the phone. 70                                    interviews and two dress rehearsals. 71
 7
       Random Confession. According to Morris, James       This was new. Morris admitted he never told his
8      told Thomas he killed Dobie. 72                     attorney, the FBI, or the prosecutors about
                                                           James’s purported confession during seven
                                                           different interviews and one dress rehearsal. 73
9
                                                           Morris thought he brought it up during his final
                                                           dress rehearsal with the Government on the
10                                                         Saturday before trial 74—Agent Ribail said
                                                           otherwise. 75
11
       Shifted on the truck shooting. Morris claimed       Didn’t see any shootings. Morris admitted he
12     James and Donovan were shooting at the truck as     didn’t see anyone get shot. 77
       it drove away. When asked who had a .22-caliber
13     rifle, Morris said Donovan had the rifle—he then
       corrected himself after prompting from the
14     Government to say it was James. 76


15
      68 ECF No. 700 at 791 (Transcript–Day 4).
16    69 ECF No. 700 at 793 (Transcript–Day 4).
      70 ECF No. 700 at 795 (Transcript–Day 4).

17    71 ECF No. 717 at 845-47 (Transcript–Day 5).

      72 ECF No. 700 at 796 (Transcript–Day 4).

18    73 ECF No. 717 at 843 (Transcript–Day 5).

      74 ECF No. 717 at 845 (Transcript–Day 5).

19    75 ECF No. 739 at 1422-23 (Transcript–Day 7).

      76 ECF No. 717 at 821 (Transcript–Day 5).

      77 ECF No. 717 at 917 (Transcript–Day 5).

                                             Rule 29 + Rule 33
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 1                  Testimony on Direct                                   Admission on Cross

2      Natasha thought her friend was killed. Morris        This was new. Morris couldn’t recall if he told
       said Natasha was “shaken up” because she             his attorney, the FBI, or the prosecutors about
 3     thought the man who was shot was “Chucky,” a         “Chucky” during seven different interviews and
       friend from White Swan. 78                           two dress rehearsals. 79
4      The Jacksons and the Clouds load up. Morris          Getting things confused. Morris stated he was
       found keys to Michelle’s truck. 80 The Clouds        seated in the back when they left Medicine
 5     and the Jacksons got in—Donovan drove, James         Valley, but insists there wasn’t a dog in the back
       was in front-passenger, and the Jacksons were in     seat (there was). 82
6      the back. James had a rifle, Donovan had a pistol,
       but it’s unclear where the shotgun was. 81
 7
       A seat switch. Donovan stopped the truck at Levi
8      Culps’s house, where James and Morris switched
       seats. According to Morris, this is how he ended
       up with a rifle. 83
9
       Who had what gun. After leaving the Silverado,
10     Morris had a rifle, James had a shotgun, and
       Donovan had a pistol. 84
11
                                                            Plea benefit. Morris acknowledged his
12                                                          cooperation means the Government won’t
                                                            charge him with other crimes (e.g., shooting the
13                                                          truck with a shotgun). 85

                                                            Accused of lying. Morris admitted the FBI and
14                                                          other police repeatedly accused him of lying
                                                            during his many interviews. 86
15

16    78 ECF No. 717 at 822 (Transcript–Day 5).
      79 ECF No. 717 at 859-60 (Transcript–Day 5).
17    80 ECF No. 717 at 824 (Transcript–Day 5).

      81 ECF No. 717 at 827 (Transcript–Day 5).

18    82 ECF No. 717 at 882 (Transcript–Day 5).

      83 ECF No. 717 at 829 (Transcript–Day 5).

19    84 ECF No. 717 at 830 (Transcript–Day 5).

      85 ECF No. 717 at 893-94 (Transcript–Day 5).

      86 ECF No. 717 at 886 (Transcript–Day 5).

                                             Rule 29 + Rule 33
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 1           David Hoffman

2            David Hoffman testified about a handful of inculpatory statements James

 3    purportedly made when they were cellmates at FDC Sea-Tac. Mr. Hoffman told the

4     jury he and James “grew up together.”87 He also told the jury James made the

 5    following statements: 1) “he was there on five bodies”88; 2) he shot a female in the

6     arm89; and 3) he shot one victim twice. 90 We also learned the following: 1) he has no

 7    agreement with the Government “at this point in time,” so Mr. Hoffman was

8     testifying on his “own free will” 91; 2) inmates at FDC Sea-Tac receive their discovery

9     electronically, which is viewed on a non-private computer in the middle of the housing

10    unit for all to see;92 3) it’s hard to have private legal calls because the phones are

11    located in the middle of the housing unit for all to hear93; and 4) he lacked any personal

12    knowledge about what happened at Medicine Valley. 94

13           Natasha Jackson

             Natasha was supposed to shore-up Morris’s testimony about James’s role at
14
      Medicine Valley; she did anything but. She told the jury the following:
15

16
      87 ECF No. 717 at 926 (Transcript–Day 5).
17    88 ECF No. 717 at 927-28 (Transcript–Day 5).
      89 ECF No. 717 at 928 (Transcript–Day 5).

18    90 ECF No. 717 at 928 (Transcript–Day 5).

      91 ECF No. 717 at 939 (Transcript–Day 5).

19    92 ECF No. 717 at 933-34 (Transcript–Day 5).

      93 ECF No. 717 at 938 (Transcript–Day 5).

      94 ECF No. 717 at 946 (Transcript–Day 5).

                                             Rule 29 + Rule 33
                                                   – 19 –
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 1         -   Who wore what. Morris wore a blue shirt and Donovan wore a white tank top. 95

2          -   The Clouds brought two rifles, not one. Natasha knows the difference between
               shotguns and rifles, and the Clouds brought two rifles with them in the Blazer,
 3
               not one.96
4
           -   Morris wanted to go to Medicine Valley, not the Clouds. Donovan detoured to
 5             Medicine Valley because Morris wanted to “get what Dobie owed him.”97

6          -   The Clouds entered Medicine Valley with two rifles, not one. After waiting
               inside the Blazer for Morris, the Clouds entered Dobie’s property—each
 7
               brought a rifle.98
8
           -   She saw James drag Dobie’s body. While retrieving items from Medicine Valley
9              at Donovan’s direction, Natasha saw James drag Dobie’s body toward the game
               room. While doing so, he asked Natasha to help look for gas. 99
10
           -   Couldn’t recall seeing James armed. When asked whether James was armed
11
               when dragging Dobie’s body, she couldn’t recall. 100
12
           -   Saw everyone head towards the truck. Natasha saw Donovan, James, and Morris
13             walk towards the truck with Thomas. 101

14

15

16    95 ECF No. 717 at 962-63 (Transcript–Day 5).
      96 ECF No. 717 at 966 (Transcript–Day 5).
17    97 ECF No. 717 at 1007 (Transcript–Day 5).

      98 ECF No. 717 at 972 (Transcript–Day 5).

18    99 ECF No. 717 at 975-76 (Transcript–Day 5).

      100 ECF No. 717 at 976, 1024 (Transcript–Day 5).

19    101 ECF No. 717 at 982 (Transcript–Day 5). Note: this contradicts Morris, who testified he hid

      behind a truck with Natasha while James and Donovan shot the truck. (ECF No. 717 at 820 –
      Transcript–Day 5).
                                              Rule 29 + Rule 33
                                                    – 20 –
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 1          -   The Clouds were armed. Natasha thought James and Donovan were armed when
                walking towards the truck. 102
2
            -   Morris ditched a rifle in the canal. Shortly before his arrest, Morris threw a rifle
 3
                in the canal and told Natasha to start running. 103
4
            -   Before the shootings, someone chased the Clouds in a car. Before the shootings,
 5              Natasha rode with James and Donovan when a car chased them. 104

6           -   The Clouds offered to buy gas. When the Clouds arrived to pick up the Jackson,
                they offered to buy gas from the Jacksons to get them to White Swan. 105
 7

8           -   Saw Dobie mock Donovan. Natasha saw Dobie mock and laugh at Donovan,
                which made him mad. 106
9
            -   Natasha wasn’t loaded, but Morris was. Natasha said she wasn’t phased by the
10              alcohol and meth she used, as she smoked and drank daily.107 Morris, on the
                other hand, was “pretty hyped up.”108
11

12          -   Didn’t see the initial shootings. Natasha didn’t see who shot Dobie, Michelle,
                or Catherine. 109
13
            -   Donovan ran to the Blazer with a hot rifle. After the first shootings, Donovan
14
                ran to the Blazer with a rifle, which was “all hot.” Then Donovan took the
15

16
      102 ECF No. 717 at 983 (Transcript–Day 5).
17    103 ECF No. 717 at 992-93 (Transcript–Day 5).
      104 ECF No. 717 at 998 (Transcript–Day 5).

18    105 ECF No. 717 at 1004 (Transcript–Day 5).

      106 ECF No. 717 at 1009-1010 (Transcript–Day 5).

19    107 ECF No. 717 at 1014 (Transcript–Day 5).

      108 ECF No. 717 at 1014 (Transcript–Day 5) (removed verbal pause “you know” from quote).

      109 ECF No. 717 at 1015-16 (Transcript–Day 5).

                                             Rule 29 + Rule 33
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 1              Blazer, rammed it through Dobie’s gate, and directed Morris and Natasha to
                start grabbing items. 110
2
            -   Natasha didn’t confuse Tommy for Chucky. When Thomas exited the truck to
 3
                inspect the property, Natasha recognized him—she didn’t confuse him for a
4               friend from White Swan, as Morris claimed.111

 5          -   Natasha excluded James as a shooter. Natasha confirmed James didn’t shoot at
                the truck. 112
6
            -   Donovan wanted to shoot the truck, James said no. As the truck approached
 7
                Medicine Valley, Donovan wanted to “take out the people in the black truck.”
8               James said “No fucker!” and told Donovan to calm down.113

9           -   Morris shot the truck. Natasha corroborated Lindell’s testimony—Morris shot
                the truck with a shotgun. 114
10
      Of all the statements Natasha made, her final words weighed heavy. When the
11
      Government asked Natasha if her exculpatory statements about James (and her
12
      inculpatory statements about Morris) were the truth or simply an effort to get off the
13
      witness stand, she doubled down: “they were true.”115
14

15

16
      110 ECF No. 717 at 1022-23 (Transcript–Day 5).
17    111 ECF No. 717 at 1029 (Transcript–Day 5). This contradicts Morris, who testified Natasha
      thought confused Thomas H. for “Chucky,” a friend from White Swan. (ECF No. 717 at 822 –
18    Transcript–Day 5.)
      112 ECF No. 717 at 1032 (Transcript–Day 5).

19    113 ECF No. 717 at 1038-39 (Transcript–Day 5).

      114 ECF No. 717 at 1039 (Transcript–Day 5).

      115 ECF No. 717 at 1042-43 (Transcript–Day 5).

                                             Rule 29 + Rule 33
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 1           Charity Davis

2            Charity Davis offered little to help the Government’s case. She testified James’s

 3    DNA was on a cigarette from Dobie’s game room.116

4            Lindell L.

             Lindell was also supposed to shore-up Morris’s testimony about James’s role at
 5
      Medicine Valley. But like Natasha, he did anything but. Lindell saw Dennis get shot by
6
      a red-shirted male that was “short and stocky.”117 The day after the shootings, he
 7
      participated in a FBI-administered line-up and excluded James as the red-shirted
8
      shooter. 118 Lindell also agreed with Natasha that Morris was the blue-shirted male who
9
      “shot him and had the shotgun.” 119
10
             Jesus Arreguin
11
             The Government called Jesus Arreguin to impeach its own witness. That is,
12
      Deputy Arreguin told the jury that when he interviewed Lindell at the hospital shortly
13
      after the shootings, he couldn’t remember which direction the birdshot came from. 120
14

15

16

17

18    116 ECF No. 725 at 1089 (Transcript–Day 6).
      117 ECF No. 725 at 1105 (Transcript–Day 6).
19    118 ECF No. 725 at 1114 (Transcript–Day 6).

      119 ECF No. 725 at 1114 (Transcript–Day 6).

      120 ECF No. 725 at 1125 (Transcript–Day 6).

                                             Rule 29 + Rule 33
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 1           Sigmund Menchel

2            Dr. Sigmund Menchel confirmed the cause of death for each victim—that is,

 3    they were all killed with a distance shot (i.e., 18 inches or greater) from a weapon other

4     than a shotgun. 121

 5           Jon V.

             Jon offered no observations about Medicine Valley, but he did offer helpful
6
      observations about James, noting he apologized while collecting the keys to his truck. 122
 7
      He also testified Donovan held a pistol to his son’s head. 123
8
             Berdleen Cootes
9
             Berdleen Cootes also offered no observations about Medicine Valley, but she did
10
      describe the Clouds—James was “awful polite,” while Donovan looked “weird” with
11
      “bugged out” eyes. 124
12
             Alvin Cootes
13
             Alvin Cootes confirmed a subtle, but important observation: when he saw the
14
      Clouds, James had a pistol clip in his waistband, but no gun. 125
15

16

17

18    121 ECF No. 725 at 1211, 1214-17 (Transcript–Day 5).
      122 ECF No. 725 at 1257 (Transcript–Day 6).
19    123 ECF No. 725 at 1249 (Transcript–Day 6).

      124 ECF No. 725 at 1273, 1277 (Transcript–Day 6).

      125 ECF No. 725 at 1283 (Transcript–Day 6).

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 1           Shannon Prince

2            Shannon Prince testified a fingerprint retrieved from the rearview mirror of

 3    Jon’s truck belonged to Donovan. 126

4            Jeremy Wyatt

             Jeremy Wyatt undermined the idea James showed up to Medicine Valley with
 5
      ill-motives. He told the jury James and Dobie were friends, and that Dobie had
6
      previously helped James with a car and money when he was “down-and-out” a few
 7
      years back. 127 Jeremy also confirmed James routinely visited Medicine Valley, and was
8
      playing pool with Dobie the night before the shootings—they were “talking and
9
      laughing together” late into the night. 128
10
             Deanna Leslie
11
             Deanna Leslie also undermined the idea James showed up to Medicine Valley
12
      with ill-motives. She told the jury James and Dobie were friends, and that James
13
      dropped off elk or deer meat to Dobie and Michelle the day before the shootings. 129
14
             With the relevant facts laid out, James turns to the law.
15

16

17

18
      126 ECF No. 739 at 1366-67 (Transcript–Day 7).
19    127 ECF No. 764 at 1561 (Transcript–Day 8).
      128 ECF No. 764 at 1568 (Transcript–Day 8).

      129 ECF No. 764 at 1615 (Transcript–Day 8).

                                             Rule 29 + Rule 33
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 1                                        III.   Discussion

2           Standard

            The Due Process Clause “protects a defendant in a criminal case against a
 3
      conviction except upon proof beyond a reasonable doubt of every fact necessary to
4
      constitute the crime with which he is charged.” Jackson v. Virginia, 443 U.S. 307, 315
 5
      (1979). This “beyond-a-reasonable-doubt standard” is “not irretrievably committed to
6
      jury discretion,” as is sometimes the impression. Id. at 317 n.10 (emphasis added).
 7
      No, the law requires a trial court to independently audit a trial using two procedural
8
      mechanisms—the first is Rule 29; the second is Rule 33.
9
            1.     Rule 29
10
            Under Rule 29, a court “must enter a judgment of acquittal of any offense for
11
      which the evidence is insufficient to sustain a conviction.” Fed. R. Crim. P. 29(a).
12
      Assessing whether sufficient evidence exists is a two-part query:
13
            1)     “a reviewing court must consider the evidence presented at trial in the
14                 light most favorable to the [government]”; and
15
            2)     a reviewing court determines “whether the evidence, so viewed, is
16                 adequate to allow any rational trier of fact to find the essential elements of
                   the crime beyond a reasonable doubt.”
17
      U.S. v. Nevils, 598 F.3d 1158, 1164 (9th Cir. 2010) (en banc) (cleaned up). During this
18
      inquiry, courts don’t weigh witness credibility. See id. at 1169-70.
19


                                           Rule 29 + Rule 33
                                                 – 26 –
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 1           While this two-part query applies to all Rule 29 audits, courts perform a deeper,

2     more-searching audit when the Government builds its case on circumstantial evidence.

 3    See, e.g., U.S. v. Jones, 713 F.3d 336, 341 (7th Cir. 2013) (“Since this case turns on

4     whether the inferences leading to a guilty verdict based on circumstantial evidence

 5    were reasonable or speculative, we must review the government’s evidence in

6     detail.”). “Entirely circumstantial cases are not unusual,” and “a verdict may be

 7    rational even if it relies solely on circumstantial evidence.” Id. at 340. But “as the name

8     ‘circumstantial evidence’ suggests, the strength of a particular piece of evidence turns

9     on the specific circumstances that accompany that evidence.” U.S. v. Glenn, 312 F.3d

10    58, 70 (2d Cir. 2002); see also Jones, 713 F.3d at 339 (noting “the height of [Rule 29’s]

11    hurdle depends directly on the strength of the government’s evidence.”). And “as the

12    inferential leap between the fact and the proposition to be derived grows, the probative

13    value of the evidence diminishes.” Glenn, 312 F.3d at 70.

14           There’s sound logic in performing a deeper audit in circumstantially-built cases,

15    as a line exists “between reasonable and unreasonable inferences from circumstantial

16    evidence.” Jones, 713 F.3d at 340. While that line “is by no means a sharp one,” it’s

17    crossed when the Government proves its case “with conjecture camouflaged as

18    evidence.” Id. To keep the Government from crossing that line, a trial court’s deeper

19    audit must ensure “each link in the chain of inferences” is “sufficiently strong to avoid

      a lapse into speculation.” Jones, 713 F.3d at 340.
                                            Rule 29 + Rule 33
                                                  – 27 –
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 1           Of all the scenarios where the Government could lapse into speculation, one

2     stands out: convicting someone through “guilt by association” under an aiding &

 3    abetting theory. See id. at 352 (“The prohibition on speculative inference based solely

4     on guilt by association or mere presence is especially relevant in aiding-and-abetting

 5    cases....”) (emphasis added). It is long-settled the Government can’t survive a Rule 29

6     by simply placing the accused at a crime scene. See id. at 347 (“Inferences cannot be

 7    motivated by or made possible by speculation focused on a defendant’s presence or

8     association with criminals or their criminal activity.”); see also U.S. v. Goldtooth, 754

9     F.3d 763, 768-69 (9th Cir. 2014) (reversing under Rule 29 in robbery case because “an

10    aiding and abetting conviction requires a state of mind extending to the entire crime,”

11    and no rational juror could conclude as much).

12           There’s a clear takeaway from these cases: when the Government builds its case

13    on circumstantial evidence, it can’t speculate its way to a conviction by putting James

14    in the same place as Donovan. Instead, the Government needs to provide the jury with

15    “a sufficient evidentiary predicate” to show that, “beyond a reasonable doubt,” James

16    was involved in killing Catherine, Michelle, Thomas, and Dennis on June 8 in

17    Medicine Valley. Glenn, 312 F.3d at 70.

18           Beyond closely tracking inferential links, courts employ another protective

19    measure when auditing circumstantially-built cases under Rule 29: they watch for

      evidentiary equipoise. That is, “if the evidence viewed in the light most favorable to
                                            Rule 29 + Rule 33
                                                  – 28 –
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 1    the prosecution gives equal or nearly equal circumstantial support to a theory of guilt

2     and a theory of innocence, then a reasonable jury must necessarily entertain a

 3    reasonable doubt.” U.S. v. Coplan, 703 F.3d 46, 69 (2d Cir. 2012) (cleaned up); see also

4     U.S. v. Ayala-Garcia, 574 F.3d 5, 11 (1st Cir. 2009) (“A judgment of acquittal based on

 5    equally viable prosecution and defense theories is required only where the evidence is

6     in equipoise, or nearly so, even when viewed in the government’s favor.”) (emphasis in

 7    original). Or, put differently: a Rule 29 acquittal becomes required when the evidence

8     as to guilt and innocence is a wash. 130

9            Rule 29’s heightened protections for circumstantially-built cases guard against

10    two scenarios: 1) a jury convicting an accused even though the evidence is “insufficient

11    to establish every element of the crime”; and 2) “where mere speculation, rather than

12    reasonable inference, supports the government’s case.” Goldtooth, 754 F.3d at 768.

13           There’s another nugget about Rule 29 worth noting, as it plays a potential role in

14    James’s post-trial request: if a court “deems the evidence insufficient as a matter of law

15    to support a jury’s guilty verdict on a greater offense,” it may acquit on the greater

16    offense and “enter a judgment of conviction on the lesser included offense.” U.S. v.

17    Cavanaugh, 948 F.2d 405, 409 (8th Cir. 1991) (holding that if a court grants a judgment

18
      130Of course, the Government “need not refute every possible hypothesis supporting a
19    defendant’s innocence.” U.S. v. Friedman, 300 F.3d 111, 123 (2d Cir. 2002). But it “must do
      more than introduce evidence that is at least as consistent with innocence as with guilt.” U.S. v.
      D’Amato, 39 F.3d 1249, 1256 (2d Cir. 1994).
                                               Rule 29 + Rule 33
                                                      – 29 –
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 1    of acquittal following a jury verdict of guilty, it may enter judgment of conviction on a

2     lesser included offense); see also U.S. v. Ellsworth, 647 F.2d 957, 965 (9th Cir. 1981),

 3    cert. denied, 456 U.S. 944 (1982); U.S. v. Wood, 207 F.3d 1222, 1229 (10th Cir. 2000)

4     (“When ruling on a motion for judgment of acquittal, a district court should consider

 5    not only whether the evidence would be sufficient to sustain a conviction of the offense

6     charged, but also whether it would be sufficient to sustain a conviction on a lesser

 7    included offense.”). So, if the Court found insufficient evidence on premeditation

8     (what’s needed for 1st-degree murder), it could enter a judgment of conviction on the

9     lesser-included offense: 2d-degree murder.

10           With the procedure for a Rule 29 audit established, let’s turn to Rule 33.

11           2.     Rule 33

12           Under Rule 33, a court may “grant a new trial if the interest of justice so

13    requires.” Fed. R. Crim. P. 33 (a). Rule 33 operates much differently than Rule 29—

14    the court’s “power to grant a motion for new trial is much broader than its power to

15    grant a motion for judgment of acquittal.” U.S. v. Alston, 974 F.2d 1206, 1211 (9th Cir.

16    1992) (citing 3 Charles Wright, Fed. Practice & Procedure §553)) (emphasis added). In

17    considering a new trial, the court “need not view the evidence in the light most

18    favorable to the verdict; [and] it may weigh the evidence and in so doing evaluate for

19    itself the credibility of the witnesses.” Alston, 974 F.2d at 1211; see also U.S. v.

      Washington, 184 F.3d 653, 658 (7th Cir. 1999) (for a Rule 33 motion, “the court may
                                             Rule 29 + Rule 33
                                                   – 30 –
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 1    reweigh the evidence, taking into account the credibility of the witnesses.”). In effect,

2     the court “sits as a thirteenth juror.” U.S. v. Capati, 980 F. Supp. 1114, 1132 (S.D. Cal.

 3    1997) (citing Tibbs v. Florida, 457 U.S. 31, 42 (1982)). Sitting in this position, if the

4     court finds the “evidence preponderates sufficiently heavily against the verdict that a

 5    serious miscarriage of justice may have occurred, it may set aside the verdict” and

6     grant a new trial. Alston, 974 F.2d at 1211. A trial court possesses considerable

 7    discretion in granting a new trial, and its “judgment call” is afforded “an appreciable

8     measure of respect” given the court’s “sense of the ebb and flow of the recently

9     concluded proceedings.” U.S. v. Baptiste, 8 F.4th 30, 41 (1st Cir. 2021).

10                                                ***

11           With both standards set out, the next question is how best to apply them. While

12    there are many issues to cover during the Court’s deeper audit under Rule 29 and

13    Rule 33, those issues fall fairly neatly into three categories:

14           1) the Government’s failure to prove premeditation with near certitude;

15           2) the Government’s failure to prove James shot anyone with near certitude;
                and
16

17           3) the Government’s failure to prove James aided the murders with near
                certitude.
18
      Given these categories, a roadmap helps: begin with the house murders. Examine each
19
      category (i.e., premeditation, James as shooter, and James as aider)—first under

                                             Rule 29 + Rule 33
                                                   – 31 –
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 1    Rule 29’s more-stringent standard, then under Rule 33’s more-relaxed standard. Finish

2     with the truck murders, performing the same analysis.

 3              The house murders don’t survive post-trial scrutiny.

4               1.     Under Rule 29, the Government failed to prove premeditation for the
                       house murders with near certitude.
 5
                To see why the Government presented insufficient evidence on premeditation,
6
      it helps to return to the Government’s theory on premeditation: James killed Dobie
 7
      first, but “to be frank,” it didn’t know why—“[h]ence, second-degree murder” for
8
      Dobie. 131 With Dobie dead, James now had an eyewitness problem, as “Michelle and
9
      Catherine [were] still on the property.”132 To address this eyewitness problem, James
10
      killed both during a premeditated cover-up—hence, first-degree murder for Michelle
11
      and Catherine. That’s its theory.
12
                This theory assumes many things, but one above all: Dobie got shot first. The
13
      Government needed to prove shooting order because, otherwise, it can’t say which
14
      death should be charged as the unplanned killing (i.e., 2d-degree murder), and which
15
      deaths should be charged as the cover-up killings (i.e., 1st-degree murder). The
16
      Government assumed a heavy burden when it brought 1st-degree murder charges
17
      against James for the deaths of Michelle and Catherine, and shooting order helped
18
      make that lift possible.
19
      131   ECF No. 775 at 1665 (Transcript–Day 9).
      132   ECF No. 775 at 1665 (Transcript–Day 9).
                                               Rule 29 + Rule 33
                                                     – 32 –
     Case 1:19-cr-02032-SMJ      ECF No. 825     filed 05/06/22   PageID.15186 Page 34 of 63




 1           But almost no evidence shows Dobie got shot first. Let’s tick through it:

2            No eyewitnesses. The Government presented no testimony from eyewitnesses

 3    on who got shot first. Morris didn’t see any house murders,133 and Natasha didn’t

4     know “who shot those people” either. 134

 5           DNA evidence. The Government linked the Clouds’ DNA to some cigarettes on

6     Dobie’s pool table, which means little. Jeremy saw James playing pool and smoking

 7    cigarettes with Dobie the night before the shootings,135 and Morris saw James and

8     Donovan standing in the game room at some point before the shootings while talking

9     with Dobie. 136 This evidence doesn’t establish shooting order.

10           Toolmark evidence. The Government found a spent .22 casing near Dobie’s

11    body in the game room, and Dr. Menchel said a small-caliber bullet killed Dobie.137

12    This also means little, as it doesn’t establish shooting order.

13           So what did the Government rely on to claim —with near certitude—that Dobie

14    got shot first? Two things: location and time. That is, police found Dobie’s body in the

15    game room near the Clouds’ cigarettes and a .22 casing (location), which is the last

16    moment Morris saw Dobie alive (time). By connecting the Clouds to the last place (and

17

18    133 ECF No. 717 at 917 (Transcript–Day 5).
      134 ECF No. 717 at 1015-16 (Transcript–Day 5).
19    135 ECF No. 764 at 1562, 1565-66 (Transcript–Day 8).

      136 ECF No. 700 at 775-76 (Transcript–Day 4).

      137 ECF No. 775 at 1665 (Transcript–Day 9).

                                             Rule 29 + Rule 33
                                                    – 33 –
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 1    time) Dobie was seen alive, the Government created an inferential chain to say Dobie

2     got shot first, which it explained to the jury during closing:

 3

4

 5

6

 7

8

9
      Visually, the Government’s inferential chain looks like this:
10

11

12

13

14
      But as circuit courts caution, Rule 29 audits—especially deeper audits—must ensure
15
      “each link in the chain of inferences” is “sufficiently strong to avoid a lapse into
16
      speculation.” Jones, 713 F.3d at 340.
17
             Here, this chain breaks in two places:
18
             Dobie killed in the game room. The Government told the jury during closing
19
      there was “[n]o evidence in the record that [Dobie] was moved or dragged,” inferring

                                            Rule 29 + Rule 33
                                                  – 34 –
     Case 1:19-cr-02032-SMJ      ECF No. 825     filed 05/06/22   PageID.15188 Page 36 of 63




 1    Dobie was killed in the same spot his body was found—the game room. 138 That’s false.

2     On direct, Natasha testified she saw James “dragging Dobie’s body to the game

 3    room”139— testimony the Government called “candid” during closing. 140 Morris

4     corroborated Natasha, telling the jury someone tampered with Dobie’s body

 5    (specifically, took off his Carhartt coveralls and went through his pockets) after he

6     died. 141 So, at best, the Government’s own witnesses describe Dobie getting moved to

 7    the game room. There goes the first link, which is enough to damn this count for

8     Rule 29 purposes. See U.S. v. Katakis, 800 F.3d 1017, 1025 (9th Cir. 2015) (affirming

9     judgment of acquittal since the Government’s evidence lacked a “critical link in the

10    logical chain of inference”).

11           Dobie last seen alive with the Clouds. The Government told the jury during

12    closing that Morris left everyone in the game room, returned to the Blazer, and waited

13    with Natasha until, eventually, “all hell broke loose.”142 But in making this claim, the

14    Government glosses over a critical component: time. Neither Morris nor Natasha

15    testified how long they waited in the Blazer before seeing Donovan run towards them.

16    If Donovan ran towards the Blazer immediately after Morris left the game room, this

17
      138 ECF No. 775 at 1665 (Transcript–Day 9).
18    139 ECF No. 717 at 975-76 (Transcript–Day 5) (emphasis added).
      140 ECF No. 775 at 1654 (Transcript–Day 9).

19    141 ECF No. 717 at 857 (Transcript–Day 9) (“Question: So somebody came in and took his

      Carhartts off after he was dead? Answer: Yeah.”).
      142 ECF No. 775 at 1653 (Transcript–Day 9).

                                              Rule 29 + Rule 33
                                                    – 35 –
     Case 1:19-cr-02032-SMJ      ECF No. 825     filed 05/06/22   PageID.15189 Page 37 of 63




 1    might support an inference Dobie got shot first. But the Government offered no

2     evidence about how much time elapsed, be it five minutes, fifteen minutes, or longer.

 3    We just know Morris and Natasha sat in the Blazer listening to music and doing meth

4     until they eventually saw Donovan running towards them—“worked up,”143

 5    “breathing really hard,” 144 and with a hot rifle in-hand.145 There goes the second link.

6            Without time as a benchmark, and with Natasha saying Dobie’s body was moved

 7    to the game room, it’s impossible for the Government to say with near certitude that

8     Dobie got shot first. Without a shooting order, the Government can’t prove who got

9     killed during an unplanned argument (i.e., 2d-degree murder), and who got killed

10    during a premeditated effort to remove eyewitnesses (i.e., 1st-degree murder). These

11    proof problems break the inferential chain:

12

13

14

15

16
             While the Government may have a “strong suspicion” Dobie got shot first, a
17
      “strong suspicion” is “no substitute of guilt beyond a reasonable doubt.”—even under
18

19    143 ECF No. 700 at 779 (Transcript–Day 4).
      144 ECF No. 700 at 779 (Transcript–Day 4).
      145 ECF No. 717 at 1022-23 (Transcript–Day 5).

                                             Rule 29 + Rule 33
                                                   – 36 –
     Case 1:19-cr-02032-SMJ       ECF No. 825      filed 05/06/22    PageID.15190 Page 38 of 63




 1    Rule 29’s deferential standard. U.S. v. Jones, 713 F.3d 336, 347 (7th Cir. 2013).

2     (affirming the trial court’s Rule 29 grant, finding the circumstantial evidence amounted

 3    to nothing more than a “strong suspicion” of criminal activity, which cannot “satisfy

4     the state of near certitude required” by the Supreme Court). To find otherwise would

 5    lower the Government’s burden, allowing it to prove-up counts “with conjecture

6     camouflaged as evidence.” Id. at 340; see also U.S. v. Del Toro-Barboza, 673 F.3d 1136,

 7    1144 (9th Cir. 2012) (noting reasonable inferences must be “supported by a chain of

8     logic, rather than mere speculation dressed up in the guise of evidence.”) (cleaned up).

9            Without premeditation, the house murders need to be reduced from 1st- to 2d-

10    degree murder—a remedy Rule 29 allows. See U.S. v. Wood, 207 F.3d 1222, 1229 (10th

11    Cir. 2000) (noting a court may enter conviction on a lesser-included offense). 146

12           2.      Under Rule 33, the Government failed to prove premeditation for the
                     house murders with near certitude.
13
             The Court need not examine premeditation under Rule 33, as the Government
14
      offered insufficient evidence under Rule 29—the inquiry’s over. But if the Court
15

16
      146James anticipated arguing the affiliated gun counts would need to be tossed as well, as §924(c)
17    convictions require predicate crimes of violence—something 2d-degree murder is not. See U.S. v.
      Begay, 934 F.3d 1033 (9th Cir. 2019) (finding 2d-degree murder isn’t a crime of violence). But
18    yesterday, the Ninth Circuit walked that decision back, holding 2d-degree murder qualifies as a
      crime of violence because it involves “extreme recklessness,” which is a higher mens rea than
19    “ordinary recklessness.” U.S. v. Begay, __F.4th__, 2022 WL 1417535 (9th Cir. May 5, 2022) (en
      banc). While James disagrees with the majority and doesn’t concede this issue, he’s mindful the
      Court is bound by this latest turn in the ever-changing categorical world.
                                                 Rule 29 + Rule 33
                                                       – 37 –
     Case 1:19-cr-02032-SMJ        ECF No. 825     filed 05/06/22   PageID.15191 Page 39 of 63




 1    proceeds, little changes. The Government still can’t prove shooting order, leaving

2     “strong doubt” Michelle or Catherine were shot second and third (or vice versa) in a

 3    premeditated effort to remove witnesses. See, e.g., U.S. v. Washington, 184 F.3d 653,

4     658-59 (7th Cir. 1999) (finding the weight of the evidence was against the verdict, and

 5    the court abused its discretion in declining to grant a new trial under Rule 33). Simply,

6     the lack of evidence on premeditation weighs against the verdict.

 7              Beyond the Government’s conjecture on shooting order, another fact supports a

8     new trial under Rule 33: the exclusion of medical records showing James was shot a few

9     weeks before Medicine Valley. Here’s why:

10              During trial, the Government introduced evidence James and Donovan showed

11    up armed to Medicine Valley, suggesting ill-motives. Indeed, during the Rule 29

12    hearing, the Court noted it looks bad when people show up armed to a house (from a

13    premeditation standpoint): 147

14

15

16
      Anticipating this issue, James offered a compelling response: a few weeks before
17
      Medicine Valley, James was shot during a drive-by. This drive-by, coupled with
18

19

      147   ECF No. 739 at 1434 (Transcript–Day 7).
                                              Rule 29 + Rule 33
                                                    – 38 –
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 1    Natasha’s testimony the Clouds were chased by another car in White Swan,148 as well

2     as Sergeant Boyer describing Medicine Valley as a “tactical nightmare,”149 would have

 3    allowed James to argue a sensible inference: if James just got shot, it’s reasonable for

4     him to drive around White Swan with a gun for protection, not aggression.

 5           The Government’s own witnesses corroborate this inference. A few days before

6     Medicine Valley, Michael Peterson saw the Clouds with guns while they waited by the

 7    roadside for help with a flat tire. 150 Protection, not aggression.

8            But when James offered his self-authenticated medical records to pair with the

9     testimony of Natasha, Sergeant Boyer, and Mr. Peterson, the Court excluded the

10    records on relevance. 151 Relevance is a low bar, as James need only show these records

11    had “any tendency” to speak to a fact “of consequence”—here, whether he acted with

12    premeditation. Fed. R. Evid. 401 (2022). Respectfully, James believes the Court erred

13    by finding the records irrelevant, and this error harmed James in two ways:

14           First, it harmed James’s ability to rebut evidence on premeditation. For most lay

15    jurors, people don’t randomly show up armed to another person’s house. These

16    records pushed back on that point.

17

18
      148 ECF No. 717 at 998 (Transcript–Day 5).
19    149 ECF No. 693 at 433 (Transcript–Day 3).
      150 ECF No. 693 at 344-46 (Transcript–Day 3).

      151 ECF No. 764 at 1525 (Transcript–Day 8).

                                             Rule 29 + Rule 33
                                                    – 39 –
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 1              Second, it harmed James’s credibility with the jury. During opening, defense

2     counsel told the jury James was shot in the face and torso only a few weeks before

 3    Medicine Valley, which is why he obtained “some means of being able to protect

4     himself out there from people who would want to do him harm” in White Swan. 152

 5    That was the defense’s promise, and that promise went unfulfilled.

6               This error—alone, or in conjunction with insufficient evidence on shooting

 7    order—serves as a basis for a new trial under Rule 33. See Moore’s Federal Practice –

8     Criminal Procedure §633.02[2] (outlining the various grounds for a new trial under

9     Rule 33, including evidentiary errors); see also U.S. v. Ramirez-Rivera, 800 F.3d 1, 34

10    (1st Cir. 2015) (defendant entitled to new trial based on evidentiary errors during trial).

11              3.     Under Rule 29, the Government failed to prove James committed the
                       house murders with near certitude.
12
                To see why the Government presented insufficient evidence on James shooting
13
      anyone, it again helps to return to its theory: Michelle and Catherine were killed with a
14
      rifle. And since there was only one rifle at Medicine Valley, which was consistently
15
      seen in James’s hands, it concluded he’s the shooter. 153 Visually, the Government’s
16
      inferential chain looks like this:
17

18
      152
19          ECF No. 693 at 336 (Transcript–Day 3).
      153ECF No. 775 at 1666 (Michelle killed with .22 retrieved from canal); 1667 (Catherine killed with
      a rifle); and 1666 (Morris saw James “consistently at Medicine Valley with a rifle”).
                                              Rule 29 + Rule 33
                                                    – 40 –
     Case 1:19-cr-02032-SMJ       ECF No. 825      filed 05/06/22   PageID.15194 Page 42 of 63




 1

2

 3

4

 5
             This chain breaks in two places:
6
             There was only one rifle. To make its case against James, the Government
 7
      needed a closed universe of guns for the shootings at Medicine Valley—one pistol, one
8
      shotgun, and one .22-caliber rifle. By closing the universe, the Government added
9
      gravitas to each moment James had a rifle. It wasn’t just a rifle, after all; it was the rifle.
10
             The Government doubled-down on this closed universe, telling the jury if
11
      witnesses referred to multiple rifles at Medicine Valley, those witnesses likely used
12
      “rifle” as a catch-all for guns generally, just as Southerners call “every soda a
13
      ‘Coke.’” 154 It went on to claim the “only evidence that we have that other weapons
14
      were present is a shotgun.” 155
15

16

17

18
      154 ECF No. 775 at 1651 (Transcript–Day 9). An aside: undersigned counsel is also from the South,
19    and Southerners don’t collectively refer to all sodas as “Cokes”—especially in Texas, which is the
      home of Dr. Pepper (and 7-Up).
      155 ECF No. 775 at 1666 (Transcript–Day 9).

                                               Rule 29 + Rule 33
                                                       – 41 –
     Case 1:19-cr-02032-SMJ      ECF No. 825     filed 05/06/22    PageID.15195 Page 43 of 63




 1           That’s false. Natasha testified she knew the difference between shotguns and

2     rifles, and the Clouds brought two rifles with them in the Blazer, not one. 156 She also

 3    said both Clouds entered Dobie’s residence with rifles. 157

4            Morris said the same, testifying he couldn’t remember what James and

 5    Donovan’s guns looked like, but “knew they were rifles.”158 In fact, Morris saw

6     Donovan with multiple rifles right after the shooting. 159 So even viewing the evidence

 7    in the light most favorable to the Government, its own witnesses describe an open

8     universe of guns at Medicine Valley.

9            Another fact damages the Government’s efforts to portray a closed universe of

10    guns: what police found. It would be persuasive if the Government’s witnesses

11    described three guns at Medicine Valley, and police recovered three guns during the

12    investigation. That’s tidy. But of the three guns the Government talk about at trial,

13    only one was found—the rifle. Police never found the pistol Donovan possessed during

14    the carjacking; and police never found the shotgun Morris possessed during the truck

15    murders. Police also never found the other rifles (plural) Donovan was carrying when

16    loading up the Blazer to leave. There goes the first link.

17

18
      156 ECF No. 717 at 966 (Transcript–Day 5).
19    157 ECF No. 717 at 972 (Transcript–Day 5).
      158 ECF No. 700 at 762-63 (Transcript–Day 4).

      159 ECF No. 700 at 790 (Transcript–Day 4).

                                             Rule 29 + Rule 33
                                                   – 42 –
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 1           James was consistently seen with a rifle. The Government told the jury during

2     closing that James was seen “consistently in Medicine Valley with a rifle.”160 Okay,

 3    but so was Donovan. Donovan was seen driving to Medicine Valley with a rifle;

4     Donovan was seen walking into Dobie’s game room with a rifle; and Donovan was seen

 5    carrying multiple rifles right after the shooting. In fact, Donovan was seen with a rifle

6     when it mattered most—immediately after Morris thought he heard a gunshot, running

 7    towards Morris and Natasha all “worked up” 161 and “breathing really hard.” 162 So

8     even viewing the evidence in the light most favorable to the Government, its own

9     witnesses place rifles in the hands of both James and Donovan—rifles Morris couldn’t

10    describe. There goes the second link.

11           Beyond these broken links, the Government’s evidence creates equipoise, which

12    isn’t enough under Rule 29’s deeper audit for circumstantially-built cases. See U.S. v.

13    Coplan, 703 F.3d 46, 69 (2d Cir. 2012) (Noting “if the evidence viewed in the light

14    most favorable to the prosecution gives equal or nearly equal circumstantial support to

15    a theory of guilt and a theory of innocence, then a reasonable jury must necessarily

16    entertain a reasonable doubt” under Rule 29).

17

18

19    160 ECF No. 775 at 1666 (Transcript–Day 9).
      161 ECF No. 700 at 779 (Transcript–Day 4).
      162 ECF No. 700 at 779 (Transcript–Day 4).

                                             Rule 29 + Rule 33
                                                   – 43 –
     Case 1:19-cr-02032-SMJ      ECF No. 825      filed 05/06/22    PageID.15197 Page 45 of 63




 1           4.     Under Rule 33, the Government failed to prove James committed the
                    house murders with near certitude.
2
             Like before, the Court need not examine who-shot-who for the house murders
 3
      under Rule 33, as the Government offered insufficient evidence under Rule 29. But if
4
      the Court proceeds, things get worse for the Government. It still can’t show a closed
 5
      universe of guns, and it still can’t show James possessed the rifle when it counts, as
6
      opposed a rifle. Those problems remain.
 7
             What gets worse is, under Rule 33, the Court gets to weigh witness credibility.
8
      See U.S. v. Alston, 974 F.2d 1206, 1211 (9th Cir. 1992) (In considering a new trial, the
9
      court “need not view the evidence in the light most favorable to the verdict; [and] it
10
      may weigh the evidence and in so doing evaluate for itself the credibility of the
11
      witnesses.”). And since Natasha couldn’t recall if James was armed after the shootings,
12
      that means the Government’s case against James rested on the shoulders of Morris—
13
      its #1 witness.
14
             What a liar. 163 Of all the eyebrow-raising moments from Morris’s time on the
15
      stand, one stands out: on direct, Morris claimed (for the first time) James confessed to
16
      shooting Dobie. It’s hard to imagine Morris self-inflicting a more credibility-damaging
17
      wound. He agreed to cooperate against James; he met with police a dozen times,
18

19
      163A bold statement, but when the Government’s lead case agent repeatedly called Morris a liar,
      that’s license for James to call him one as well.
                                                Rule 29 + Rule 33
                                                        – 44 –
     Case 1:19-cr-02032-SMJ      ECF No. 825     filed 05/06/22    PageID.15198 Page 46 of 63




 1    detailing James’s purported involvement in the Medicine Valley murders; and he spent

2     hours rehearsing his testimony with the Government in the days leading up to trial.

 3    Despite all those meetings and dress rehearsals, Morris never told police about James’s

4     purported confession—not once? Unbelievable.

 5           To be fair, Morris thought he “had brought it up” during his dress rehearsal on

6     the Saturday before trial,164 but Agent Ribail corrected the record—James’s purported

 7    confession was news to him. 165 This moment, above all, captures Morris’s character—

8     when prison is on the line, he’ll trade truth for freedom.

9            It’s also hardly confidence-inspiring when the lead FBI agent repeatedly accused

10    the Government’s #1 witness of lying and withholding information. 166

11           When witness credibility gets this bad, courts grant new trials. See, e.g., U.S. v.

12    Capati, 980 F. Supp. 1114 (S.D. Cal. 1997). There, the Government charged Alberto

13    Capati with Hobbs Act robbery (among other offenses), and its case rested upon the

14    testimony of Jeffrey Diaz, the Government’s #1 witness. Id. at 1117 (referring to

15    Mr. Diaz as “the Government’s key witness”). Mr. Diaz was less-than-candid on the

16    stand—a point the court noticed. In fact, the court invoked a “familiar legal maxim,

17    falsus in uno, falsus in omnibus,” commenting that if “Diaz fabricated the most crucial

18

19    164 ECF No. 717 at 845 (Transcript–Day 5).
      165 ECF No. 739 at 1422-23 (Transcript–Day 7).
      166 ECF No. 739 at 1411 (Transcript–Day 7).

                                             Rule 29 + Rule 33
                                                   – 45 –
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 1    part of his testimony, it is difficult to imagine what aspect of Diaz’s testimony can be

2     believed.” Id. at 1133. After pouring over the transcripts, the court was left with “a

 3    powerful impression that everything Diaz said was precisely what he thought the

4     Government wanted him to say, true or false.” Id. at 1134. The court granted a new

 5    trial, finding those deep credibility issues were too much to ignore. See id. Simply, Diaz

6     was a Government “yes” man—truth be damned.

 7              Sounds familiar. When the Government asked Morris who had the rifle during

8     the truck shootings, he initially said Donovan, but changed his answer in response to a

9     follow-up question from the Government: 167

10

11

12

13

14

15

16    With one follow-up, the Government put Morris back in line—a “yes” man, indeed.
17              Then there was Morris’s selective memory. When the Government asked
18    questions, Morris exhibited an eidetic memory, answering every question the
19

      167   ECF No. 717 at 821 (Transcript–Day 5).
                                               Rule 29 + Rule 33
                                                     – 46 –
     Case 1:19-cr-02032-SMJ         ECF No. 825     filed 05/06/22   PageID.15200 Page 48 of 63




 1    Government asked. But when James’s defense team asked questions, Morris became

2     awfully forgetful, stating he “couldn’t remember” what happened 47 times.

 3              Morris’s memory got fuzzy during some opportune moments. Like when he

4     couldn’t remember telling police—during a recorded interview—that Donovan had a

 5    rifle inside Dobie’s game room, but James did not;168 or when he couldn’t remember

6     telling police—during a recorded interview—that he didn’t know who had the .22 rifle

 7    when it mattered;169 or when he couldn’t remember telling police—during a recorded

8     interview—that he didn’t know whether Dobie was alive. 170

9               Morris’s credibility weighs against the verdict on the house murders.

10              5.     Under Rule 29, the Government failed to prove James aided in the
                       house murders with near certitude.
11
                Even today, it’s unclear if the Government intended to assign aiding & abetting
12
      liability to James for the house murders. It intended to do so for the truck murders,
13
      formally charging James under §2 (aiding & abetting) in the last indictment. 171 But
14
      curiously, the Government declined to take the same formal steps for the house
15
      murders. That says something.
16

17

18
      168 ECF No. 717 at 875 (Transcript–Day 5).
      169 ECF No. 717 at 875 (Transcript–Day 5).
19    170
          ECF No. 717 at 852 (Transcript–Day 5).
      171   ECF No. 242 at 5, 7-8 (Third Superseding Indictment).
                                                Rule 29 + Rule 33
                                                      – 47 –
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 1          Nor did the Government argue James aided the house murders during closing.

2     In fact, the Government never uttered the words “aiding” or “abetting” until it talked

 3    about the carjacking. That says something too.

4           While these charging decisions and closing tactics aren’t evidence, they convey

 5    insight—specifically, the Government believed its evidence that James aided Donovan

6     was so soft, it was barely worth mentioning. At best, it showed two things: 1) James was

 7    with Donovan before the shootings; and 2) Natasha saw James drag Dobie’s body to

8     the game room. Neither fact presents sufficient evidence for a conviction. Here’s why:

9           James’s presence with Donovan in the game room at some point before the

10    shootings doesn’t carry the day, for as courts have long held, “mere presence at the

11    scene does not an aider and abettor make.” U.S. v. Goldtooth, 754 F.3d 763, 768-69 (9th

12    Cir. 2014) (finding insufficient evidence for verdict based on aiding & abetting

13    liability); U.S. v. Jones, 713 F.3d 336, 352 (7th Cir. 2013) (“Simply put, our criminal

14    justice system does not tolerate the conviction and imprisonment of people based on

15    suspicion, speculation, and association with criminals. The government must present

16    direct or circumstantial evidence of each element of each charged offense,” and

17    “cannot fill the gaps with inferences of guilt by association or evidence of an

18    individual’s mere presence somewhere criminal activity may have occurred.”).

19          Similarly, James moving Dobie’s body after the shootings also doesn’t carry the

      day, for as courts have long held, “an aiding and abetting conviction requires a state of
                                           Rule 29 + Rule 33
                                                 – 48 –
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 1    mind extending to the entire crime,” which necessarily includes “foreknowledge that

2     the [murders were] to occur.” Goldtooth, 754 F.3d at 768. Moving a body after a murder

 3    better fits an “accessory after the fact,” which is a separate crime the Government

4     didn’t charge. See 18 U.S.C. § 3 (Accessory after the fact).

 5              6.     Under Rule 33, the Government failed to prove James aided in the
                       house murders with near certitude.
6
                Like before, the Court need not examine whether James aided the house
 7
      murders under Rule 33, as the Government offered insufficient evidence under
8
      Rule 29. But if the Court proceeds under Rule 33’s more-relaxed standard, little
9
      changes. It still can’t show James acted with the intent to facilitate 1st-degree murder;
10
      it can only show James was present.
11
                The truck murders don’t survive post-trial scrutiny.
12
                1.     Under Rule 29, the Government failed to prove James committed the
                       truck murders with near certitude.
13
                During closing, the Government provided three reasons James killed Dennis and
14
      Thomas:
15
                1) “the testimonies regarding the red shirt”;
16
                2) “the proximity of Thomas and Dennis”; and
17
                3) “what Morris testified he saw.” 172
18
      Each merits scrutiny, for the closer you look, the less you see.
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      172   ECF No. 775 at 1663 (Transcript–Day 9).
                                               Rule 29 + Rule 33
                                                     – 49 –
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 1                  a.     The Government ignored evidence to claim James wore red.

2            Lindell testified the man who shot Dennis and Thomas wore red,173 but there’s

 3    no testimony James wore red. So to link James to the red-shirted male Lindell saw, the

4     Government used a “process of elimination,” 174 assembling quite the inferential chain:

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9     To keep this chain connected, the Government needed consensus on what colors

10    Donovan and Morris wore that day. Without it, the Government can’t employ

11    deductive reasoning to say James wore red. And therein lies the rub: there isn’t

12    consensus on who wore what. While everyone agrees Morris wore blue, 175 witnesses

13    don’t agree on what Donovan wore. Natasha said Donovan wore a white tank top;176

14    meanwhile, Morris remembered Donovan wearing “darker colors.” 177 Morris and

15    Natasha didn’t describe colors separated by a few degrees on the spectrum; white and

16

17    173 ECF No. 725 at 1106
      174 ECF No. 775 at 1664 (Transcript–Day 9) (Government during closing: “I submit to you the

18    man in the red shirt, by process of elimination, was the defendant.”).
      175 ECF Nos. 717 at 832(Morris saying he wore blue); 962 (Natasha saying Morris wore blue); 725

19    at 1114 (Lindell saying Morris wore blue).
      176 ECF No. 717 at 962-63 (Transcript–Day 5).

      177 ECF No. 700 at 772 (Transcript–Day 4).

                                                Rule 29 + Rule 33
                                                      – 50 –
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 1    dark are, quite literally, yin and yang—unless, of course, Donovan started out wearing

2     something darker (say, dark red) and then removed that shirt to reveal a white tank.

 3           How can the Government explain this? Its two eyewitnesses disagree on the

4     color of Donovan’s shirt, and his shirt color is the fact that allows the Government to

 5    argue James wore red. There goes this link.

6                   b.     James’s proximity to Dennis and Thomas means little.

 7           The Government insists James was near Dennis and Thomas, so this helps show

8     he’s the red-shirted shooter. Not so. Natasha testified Donovan, Morris, and James

9     walked out to the truck with Thomas—so, all the suspects. 178 That helps little.

10                  c.     Natasha contradicted what Morris saw.

             Here’s the Government’s best evidence that James shot Dennis and Thomas:
11
      Morris claimed he saw James shooting at the truck as it pulled away from Medicine
12
      Valley. 179 But let’s look closely at what Morris said: he testified Donovan had a .22 rifle
13
      (sorry, 12-gauge) at that time,180 but never said what gun James had at the time:
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19    178 ECF No. 717 at 982 (Transcript–Day 4).
      179 ECF No. 717 at 821 (Transcript–Day 5).
      180 ECF No. 717 at 821 (Transcript–Day 5).

                                             Rule 29 + Rule 33
                                                   – 51 –
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12    In fact, Morris said who had what gun for everyone but James. He also admitted he

13    never saw either Dennis or Thomas get shot; 181 he claims to have just seen the

14    aftermath as Thomas lay on the ground and Lindell drove the truck down the driveway.

15    Given what Morris didn’t see (anyone get shot), as well as an open universe of guns, it’s

16    impossible to say with near certitude that James possessed the murder weapon—even

17    when viewing things favorably for the Government. It’s guesswork, which isn’t

18    enough. See, e.g., U.S. v. Valle, 807 F.3d 508, 515 (2d Cir. 2015) (noting “specious

19

      181   ECF No. 717 at 917 (Transcript–Day 5).
                                               Rule 29 + Rule 33
                                                     – 52 –
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 1    inferences are not indulged,” as “it would not satisfy the Constitution to have a jury

2     determine that the defendant is probably guilty.”) (emphasis in original).

 3           Then there’s Natasha, who contradicted Morris outright: James didn’t shoot at

4     the truck. 182 So one Government witness (the one with a reason to lie) says James shot

 5    at the truck, the other witness (the one inculpating her own uncle) says he didn’t.

6            That’s equipoise, which doesn’t survive Rule 29’s deeper inquiry for

 7    circumstantially-built cases. See Coplan, 703 F.3d at 69.

8            But in reality, the evidentiary scales aren’t balanced. There’s also Lindell, who

9     participated in a FBI-administered line-up and excluded James as the red-shirted

10    shooter. 183 He also agreed with Natasha that Morris was the blue-shirted male who

11    “shot him and had the shotgun.” 184

12           With all these facts, it helps to take a step back and view them in a chart:

13            Evidence showing James shot                        Evidence showing otherwise
                  Dennis and Thomas
14
       Natasha on shirt colors: Donovan wore white, 185   Morris on shirt colors: He wore blue, while
15     while Morris wore blue. 186                        Donovan wore “darker colors.” 187 Couldn’t
                                                          remember what James was wearing. 188
16
      182 ECF No. 717 at 1032 (Transcript–Day).
17    183 ECF No. 725 at 1114 (Transcript–Day 6).
      184 ECF No. 725 at 1114 (Transcript–Day 6).

18    185 ECF No. 717 at 962-63 (Transcript–Day 5).

      186 ECF Nos. 717 at 832(Morris saying he wore blue); 962 (Natasha saying Morris wore blue); 725

19    at 1114 (Lindell saying Morris wore blue).
      187 ECF No. 700 at 772 (Transcript–Day 4).

      188 ECF No. 700 at 772 (Transcript–Day 4).

                                               Rule 29 + Rule 33
                                                     – 53 –
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 1            Evidence showing James shot                              Evidence showing otherwise
                  Dennis and Thomas
2
       Morris on who shot truck as it pulled away:             Morris on who shot Dennis or Thomas: Didn’t
 3     James. 189                                              see Dennis or Thomas get shot. 190

       Morris on what gun Donovan had during truck             Morris on what gun James had during truck
4      shooting: the .22-rifle (sorry, the 12-gauge). 191      shooting: Didn’t say. 192

 5     David Hoffman on James’s involvement: He                Dr. Sigmund Menchel on shootings: No female
       shot a female in the arm and one person twice.          was shot in the arm with a rifle, which
6                                                              contradicts Mr. Hoffman’s testimony. Also,
                                                               Mr. Hoffman had no first-hand knowledge about
 7                                                             shootings.

                                                               Natasha on Morris’s involvement: Morris shot
8
                                                               the truck with a shotgun 193

9                                                              Natasha on James’s involvement: James didn’t
                                                               shoot the truck. 194
10
                                                               Lindell on who shot Dennis or Thomas: Not
11                                                             James, as Lindell excluded him as the red-shirted
                                                               shooter during FBI-administered line-up. 195
12                                                             Lindell on who shot the truck (and him) with a
                                                               shotgun: Morris. 196
13

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      189 ECF No. 717 at 821 (Transcript–Day 5).
17    190 ECF No. 717 at 917 (Transcript–Day 5).
      191 ECF No. 717 at 821 (Transcript–Day 5).

18    192 ECF No. 717 at 821 (Transcript–Day 5).

      193 ECF No. 717 at 1039 (Transcript–Day 5).

19    194 ECF No. 717 at 1032 (Transcript–Day 5).

      195 ECF No. 725 at 1114 (Transcript–Day 6).

      196 ECF No. 725 at 1114 (Transcript–Day 6).

                                             Rule 29 + Rule 33
                                                   – 54 –
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 1    These scales are imbalanced, and not in a way that helps the Government. Faced with

2     all these facts from the Government’s own witnesses, we are nowhere close to near

 3    certitude, which is why the Government provided insufficient evidence to sustain the

4     verdict on the truck murders.

 5              2.     Under Rule 33, the Government failed to prove James committed the
                       truck murders with near certitude.
6
                Under Rule 33’s more-relaxed standard, things get much worse for the
 7
      Government, as now the Court gets to weigh in on evidence, including who testified
8
      more truthfully—Morris or Natasha. Because boiled down, that’s what it comes down
9
      to: Morris claims James shot the truck as it drove away; Natasha said he didn’t. Two
10
      different Government witnesses saying two different things.
11
                To resolve this conflict under Rule 33, the Court gets to consider Morris’s
12
      credibility, which we covered above. But it also gets to weigh Natasha’s credibility. In
13
      doing so, the Court considers that when Natasha exculpated James in the truck
14
      shooting, she also inculpated Morris—her own uncle; it considers when Natasha
15
      confirmed her comments about James and Morris “were true”—her literal last words
16
      under oath; 197 it considers when Lindell corroborated Natasha by also identifying
17
      Morris as a shooter; it considers when Lindell corroborated Natasha by also excluding
18
      James as a shooter; and it considers when Natasha testified she wasn’t messed up from
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      197   ECF No. 717 at 1042-43 (Transcript–Day 5).
                                               Rule 29 + Rule 33
                                                     – 55 –
     Case 1:19-cr-02032-SMJ       ECF No. 825       filed 05/06/22   PageID.15209 Page 57 of 63




 1    the drugs and alcohol she used that day, but Morris was “pretty hyped up” from the

2     alcohol, meth, and cocaine he consumed during his all-nighter. 198

 3           Beyond the evidentiary and credibility shortfalls above, another fact supports a

4     new trial under Rule 33 on the truck murders: an evidentiary error. During closing, the

 5    Government told the jury Morris saw James shoot Tommy: 199

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10    That’s false. Morris admitted on cross he didn’t see anyone get shot (i.e., Thomas,

11    Dennis, or otherwise);200 instead, he told the jury the Clouds shot at the truck as it

12    pulled away (i.e., after Dennis and Thomas were shot). 201 He also didn’t say what gun

13    James purportedly had. 202 These are subtle, but critical distinctions that leave the

14    Government’s claim unsupported in the record.

15

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      198 Under Rule 33, the Court also needs to weigh Mr. Hoffman’s testimony. Considering half of
17
      what Mr. Hoffman told the jury (James shot a woman in arm) is verifiably incorrect, his credibility
18    leaves something to be desired. No, the true credibility contest is between Morris and Natasha.
      199
          ECF No. 775 at 1660 (Transcript–Day 9).
19    200 ECF No. 717 at 917 (Transcript-Day 5).
      201 ECF No. 717 at 821 (Transcript–Day 5).
      202 ECF No. 717 at 821 (Transcript–Day 5).

                                             Rule 29 + Rule 33
                                                   – 56 –
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 1              But after a timely objection for misstating testimony, the Court overruled it,

2     empowering the Government to double-down on this falsehood: 203

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16    This error harmed James in two ways:

17              First, it allowed the Government to connect James to Thomas’s death in a way

18    unsupported by the evidence; and

19

      203   ECF No. 775 at 1661 (Transcript–Day 9).
                                               Rule 29 + Rule 33
                                                     – 57 –
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 1              Second, by overruling James’s objection, the Court effectively vouched for the

2     Government, finding its read on the evidence to be the right one. The Court’s ruling

 3    would hurt less if it instructed the jury to rely on its own memory, as it did the last time

4     James objected to the Government misstating evidence: 204

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11    But the Court didn’t provide a similar cautionary instruction when overruling James’s

12    objection, which imbued the Government’s double-down with extra credibility.

13              Given all this evidence (from the Government’s own witnesses), the weight of

14    the evidence goes against the verdict on the truck murders.

15              3.     Under Rule 29, the Government failed to prove James aided in the
                       truck murders with near certitude.
16
                As stated above, the Government never mentioned the words “aiding” or
17
      “abetting” during closing until it started talking about the carjacking at Jon’s house.
18
      Without guidance from the Government, James (and the Court) are left to guess what
19
      204
            ECF No. 775 at 1659 (Transcript–Day 9).

                                               Rule 29 + Rule 33
                                                     – 58 –
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 1    facts show James aided the truck murders. At best, the Government has Morris’s

2     testimony, which includes James purportedly telling Morris to shoot anyone that came

 3    down the driveway. 205 That statement could help the Government clear Rule 29’s

4     hurdle on the truck murders…if it was uncontroverted.

 5              But it wasn’t. Natasha said otherwise, hearing Donovan declare they should

6     “take out the people in the black truck”; she also heard James’s response: “No

 7    fucker!” telling Donovan to calm down. This exchange speaks volumes, as it showed

8     the Clouds didn’t share a “state of mind extending to the entire crime,” which is what

9     the Supreme Court looks for. Rosemond v. U.S., 572 U.S. 65, 75-76 (2014). Quite the

10    opposite: minutes before Dennis and Thomas are shot, James told Donovan to calm

11    down, which infuriated Donovan more. We’re back to evidentiary equipoise (Morris

12    saying one thing, Natasha saying another), which doesn’t clear Rule 29’s deeper audit.

13              4.     Under Rule 33, the Government failed to prove James aided in the
                       truck murders with near certitude.
14
                Once again, things get worse for the Government under Rule 33’s more-relaxed
15
      standard, as the Court gets to weigh in on Morris and Natasha’s testimony. Morris
16
      claims James wanted to shoot the truck and worked with Donovan to do so; Natasha
17
      said the Clouds fought over shooting the truck. Once again, two Government witnesses
18
      saying two different things.
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      205
            ECF No. 700 at 790 (Transcript–Day 4).

                                              Rule 29 + Rule 33
                                                    – 59 –
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 1              We covered this conflict above, and the result remain unchanged: Natasha is

2     credible, Morris is not.

 3              Beyond the evidentiary and credibility shortfalls above, another fact supports a

4     new trial under Rule 33 on the truck murders: an evidentiary error. Some context helps:

 5              Since the Government formally charged James with aiding in the truck murders,

6     he needed to educate the jury about the various times on June 8 that he and Donovan

 7    weren’t on the same page. To that end, James called FBI Special Agent Jennifer

8     Terami to discuss an interview she had with Laura Tulee, a witness who passed away

9     between the June 8 shootings and trial. During that interview, Ms. Tulee advised Agent

10    Terami of the following: 1) she saw the Clouds on June 8, 2019, after the shootings at

11    Medicine Valley; 2) the Clouds wanted to borrow her car; and 3) when Ms. Tulee said

12    “no,” Donovan became aggressive and wanted to take the car, as well as Ms. Tulee;

13    and 4) James stopped Donovan from doing so.

14              James attempted to elicit this evidence during Agent Terami’s direct, but the

15    Government objected on hearsay grounds—an objection the Court sustained. 206 James

16    asked the Court to reconsider its ruling on four grounds: 1) James didn’t offer these

17    statements for the truth, but rather to show what effect these statements had on James,

18    which is a “common” exception to the hearsay rule 207; 2) James telling Donovan “no”

19
      206   ECF No. 739 at 1403-04 (Transcript–Day 7).
      207   ECF No. 724 at 2 (Bench Brief on Laura Tulee).
                                               Rule 29 + Rule 33
                                                     – 60 –
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 1    isn’t hearsay because it’s an imperative statement208; 3) no double hearsay issues

2     existed because the statements weren’t offered for the truth 209; and 4) even if this

 3    statements were hearsay, they were admissible under Rule 807’s hearsay catch-all.210

4     The Court declined to reconsider its ruling, which kept James’s reaction to Donovan’s

 5    aggression from the jury. 211 This error harmed James because it prevented him from

6     showing the jury other examples throughout June 8 when he and Donovan weren’t on

 7    the same page. It’s not a pivotal moment, but it does play into the Rule 33 calculus.

8            Given all this evidence (from the Government’s own witnesses), the weight of

9     the evidence goes against the verdict that James aided in the truck murders.

10                                         IV.    Conclusion

11           James Cloud is many things, but a killer isn’t one of them.

12    Dated: May 6, 2022.
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18
      208 ECF No. 745 at 4 (Motion to Reconsider on Laura Tulee).
19    209 ECF No. 745 at 5 (Motion to Reconsider on Laura Tulee).
      210 ECF No. 745 at 5 (Motion to Reconsider on Laura Tulee).

      211 ECF No. 764 at 1495 (Transcript–Day 8).

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11
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12
      of the Court using the CM/ECF System, which will notify Assistant United States
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                                           Rule 29 + Rule 33
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